USCA11 Case: 23-10262     Document: 17   Date Filed: 03/17/2023   Page: 1 of 15



                UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT

GUILLERMO CAMARILLORAZO,                 )
                                         )
          Plaintiff-Appellee,            )
                                         )
          v.                             ) No. 23-10262
                                         )
3M COMPANY, et al.,                      )
                                         )
          Defendants-Appellants.         )
                                         )

                    DEFENDANTS-APPELLANTS’
               MOTION TO HOLD APPEAL IN ABEYANCE
 USCA11 Case: 23-10262        Document: 17    Date Filed: 03/17/2023   Page: 2 of 15



                CERTIFICATE OF INTERESTED PERSONS AND
                  CORPORATE DISCLOSURE STATEMENT

         Pursuant to Eleventh Circuit Rule 26.1-1, counsel for Defendants-Appellants

3M Company, 3M Occupational Safety LLC, Aearo Holdings LLC, Aearo

Intermediate LLC, Aearo Technologies LLC, and Aearo, LLC hereby certifies that

the following is a complete list of the trial judge(s), all attorneys, persons,

associations of persons, firms, partnerships, or corporations that have an interest in

the outcome of the particular case on appeal, including subsidiaries, conglomerates,

affiliates, and parent corporations, including any publicly held corporation that owns

10% or more of the party’s stock, and other identifiable legal entities related to a

party:

    • 3M Company (MMM) – Defendant-Appellant

    • 3M Occupational Safety LLC – wholly owned subsidiary of Defendant-

          Appellant 3M Company

    • Aearo Holdings LLC – wholly owned subsidiary of Defendant-Appellant

          3M Company

    • Aearo Intermediate LLC – wholly owned subsidiary of Defendant-Appellant

          3M Company

    • Aearo Technologies LLC – wholly owned subsidiary of Defendant-

          Appellant 3M Company


                                     CIP-1 of 10
 USCA11 Case: 23-10262     Document: 17    Date Filed: 03/17/2023   Page: 3 of 15
No. 23-10262, Camarillorazo v. 3M Company, et al.

    • Aearo, LLC – wholly owned subsidiary of Defendant-Appellant 3M

       Company

    • Albanis, Panagiotis V. – counsel for Plaintiff-Appellee

    • Aylstock Witkin Kreis & Overholtz – counsel for Plaintiff-Appellee

    • Aylstock, Bryan Frederick – counsel for Plaintiff-Appellee

    • Barr, Brian H. – counsel for MDL Plaintiffs

    • Beall, Charles Franklin, Jr. – counsel for Defendants-Appellants

    • Benton, Diana Clough – counsel for Defendants-Appellants 3M

       Occupational Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC,

       Aearo Technologies LLC, and Aearo, LLC

    • Bhimani, Jay L. – counsel for Defendants-Appellants

    • Bouk, Winston Troy – counsel for MDL Plaintiffs

    • Bradley Arant Boult Cummings – counsel for Defendant-Appellant 3M

       Company

    • Branscome, Kimberly O. – counsel for Defendants-Appellants

    • Brock, Robert C. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Buchanan, David R. – counsel for MDL Plaintiffs

    • Burns, Michael A. – counsel for MDL Plaintiffs
                                   CIP-2 of 9
 USCA11 Case: 23-10262     Document: 17    Date Filed: 03/17/2023   Page: 4 of 15
No. 23-10262, Camarillorazo v. 3M Company, et al.

    • Buxner, Evan D. – counsel for MDL Plaintiffs

    • Camarillorazo, Guillermo – Plaintiff-Appellee

    • Cantero, Raoul G. – counsel for Defendant-Appellant 3M Company

    • Carter, Cole T. – counsel for Defendants-Appellants 3M Occupational Safety

       LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo Technologies

       LLC, and Aearo, LLC

    • Cartmell, Thomas P. – counsel for MDL Plaintiffs

    • Castiglia, Craig – counsel for Defendants-Appellants

    • Ciresi Conlin LLP – counsel for MDL Plaintiffs

    • Clark Love & Hutson – counsel for Plaintiff-Appellee

    • Clement, Paul D. – counsel for Defendants-Appellants

    • Clement & Murphy, PLLC – counsel for Defendants-Appellants

    • Cornell, Katherine Lindsey – counsel for Plaintiff-Appellee

    • Czak, Steven C. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Dechert LLP – counsel for Defendants-Appellants

    • De Paulo, Tabitha J. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC
                                   CIP-3 of 9
 USCA11 Case: 23-10262    Document: 17      Date Filed: 03/17/2023   Page: 5 of 15
No. 23-10262, Camarillorazo v. 3M Company, et al.

    • Elizabeth, Sierra – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Ellis, Robert P. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Esfandiarifard,   Saghar   –     counsel    for   Defendants-Appellants   3M

       Occupational Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC,

       Aearo Technologies LLC, and Aearo, LLC

    • French, Yates M. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Glass, David M. – counsel for the United States of America

    • Gori Julian & Associates – counsel for MDL Plaintiffs

    • Gunderson, Karl B. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Hicks, George – counsel for Defendants-Appellants 3M Occupational Safety

       LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo Technologies

       LLC, and Aearo, LLC

                                     CIP-4 of 9
 USCA11 Case: 23-10262     Document: 17    Date Filed: 03/17/2023    Page: 6 of 15
No. 23-10262, Camarillorazo v. 3M Company, et al.

    • Hill, Thomas Larry – counsel for Defendants-Appellants

    • Hodge, Leigh Anne – counsel for Defendant-Appellant 3M Company

    • Hoekstra, Jennifer M. – counsel for Plaintiff-Appellee

    • Hutson, Shelley Van Natter – counsel for Plaintiff-Appellee

    • Jones, Hon. Gary R. – U.S. Magistrate Judge for the Northern District of

       Florida

    • Karis, Hariklia – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Kelly, Maxwell H. – counsel for MDL Plaintiffs

    • Kim, Mary H. – counsel for Defendants-Appellants

    • Kirkland & Ellis LLP – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Kolsky, Joshua M. – counsel for the United States of America

    • Krottinger, Katharine – counsel for Plaintiff-Appellee

    • Laminack Pirtle & Martines – counsel for Plaintiff-Appellee

    • Lauria, Jessica C. – counsel for Defendant-Appellant 3M Company




                                   CIP-5 of 9
 USCA11 Case: 23-10262     Document: 17    Date Filed: 03/17/2023   Page: 7 of 15
No. 23-10262, Camarillorazo v. 3M Company, et al.

    • Leach, Garret A. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Leuthauser, Nolan M. – counsel for Defendants-Appellants 3M

       Occupational Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC,

       Aearo Technologies LLC, and Aearo, LLC

    • Levin Papantonio Rafferty – counsel for MDL Plaintiffs

    • Marlowe, Emily – counsel for Plaintiff-Appellee

    • Martines, Buffy K. – counsel for Plaintiff-Appellee

    • Mitchell, Kasdin Miller – counsel for Defendants-Appellants 3M

       Occupational Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC,

       Aearo Technologies LLC, and Aearo, LLC

    • Monsour, Douglas C. – counsel for Plaintiff-Appellee

    • Monsour Law Firm. – counsel for Plaintiff-Appellee

    • Morriss, F. Chadwick – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Morgan & Morgan – counsel for Plaintiff-Appellee

    • Mostyn Law – counsel for MDL Plaintiffs

    • Moore Hill & Westmoreland – counsel for Defendants-Appellants

                                   CIP-6 of 9
 USCA11 Case: 23-10262     Document: 17    Date Filed: 03/17/2023   Page: 8 of 15
No. 23-10262, Camarillorazo v. 3M Company, et al.

    • Murphy, Erin E. – counsel for Defendants-Appellants

    • Neglia, Ashley E. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Nomellini, Mark J. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Onder Law LLC – counsel for MDL Plaintiffs

    • Ozurovich, Allison K. – counsel for Defendants-Appellants

    • Pennock, Paul J. – counsel for Plaintiff-Appellee

    • Pirtle, Thomas W. – counsel for Plaintiff-Appellee

    • Pulaski Law Firm – counsel for MDL Plaintiffs

    • Quinn Emanuel Urquhart & Sullivan LLP – counsel for MDL Plaintiffs

    • Rafferty, Troy Alan – counsel for MDL Plaintiffs

    • Rivera, Maria P. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Rodgers, Hon. M. Casey – U.S. District Judge for the Northern District of

       Florida



                                   CIP-7 of 9
 USCA11 Case: 23-10262     Document: 17   Date Filed: 03/17/2023   Page: 9 of 15
No. 23-10262, Camarillorazo v. 3M Company, et al.

    • Rogers, Brenton A. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Sacchet, Michael A. – counsel for MDL Plaintiffs

    • Sedgh, Jonathan M. – counsel for Plaintiff-Appellee

    • Seeger, Christopher A. – counsel for MDL Plaintiffs

    • Seeger Weiss LLP – counsel for MDL Plaintiffs

    • Siegal, Julie M.K. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Smith, Renee D. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

    • Steinberg, Matthew P. – counsel for Defendants-Appellants

    • Tam, Jonathan S. – counsel for Defendants-Appellants

    • Van Fleteren, Haley J. – counsel for Defendants-Appellants

    • Wagstaff & Cartmell – counsel for MDL Plaintiffs

    • Wasdin, Nicholas F. – counsel for Defendants-Appellants 3M Occupational

       Safety LLC, Aearo Holdings LLC, Aearo Intermediate LLC, Aearo

       Technologies LLC, and Aearo, LLC

                                  CIP-8 of 9
USCA11 Case: 23-10262     Document: 17    Date Filed: 03/17/2023   Page: 10 of 15
No. 23-10262, Camarillorazo v. 3M Company, et al.

    • White & Case – counsel for Defendant-Appellant 3M Company

    • Wilson, Quinn Robert – counsel for MDL Plaintiffs

    • Zanello, Lindsay N. – counsel for Defendants-Appellants

      Defendant-Appellant 3M Company states that it is a corporation whose shares

are publicly traded (NYSE: MMM).         3M Company does not have a parent

corporation and no publicly held corporation owns 10% or more of 3M’s stock.

      Defendants-Appellants 3M Occupational Safety LLC, Aearo Holdings LLC,

Aearo Intermediate LLC, Aearo Technologies LLC, and Aearo, LLC state that they

are wholly owned subsidiaries of Defendant-Appellant 3M Company.



                                     Respectfully submitted,

                                      s/Paul D. Clement
                                      Paul D. Clement




                                   CIP-9 of 9
USCA11 Case: 23-10262        Document: 17      Date Filed: 03/17/2023   Page: 11 of 15



                      DEFENDANTS-APPELLANTS’
                 MOTION TO HOLD APPEAL IN ABEYANCE

      This is the eighth in a series of appeals from bellwether trials in the multi-

district litigation concerning the Combat Arms earplugs. See Estes v. 3M Co., et al.,

No. 21-13135 (11th Cir.); Hacker v. 3M Co., et al., No. 21-13133 (11th Cir.); Keefer

v. 3M Co., et al., No. 21-13131 (11th Cir.); Baker v. 3M Co., et al., No. 21-12517-GG

(11th Cir.); Adkins v. 3M Co., et al., No. 22-12812 (11th Cir.); Wilkerson v. 3M Co.,

et al., No. 21-12719 (11th Cir.); Vilsmeyer v. 3M Co., et al., No. 22-13895 (11th Cir.).

      In the prior seven appeals, Appellants have raised a broad array of legal and

evidentiary errors that systematically plagued the bellwether trials and require

reversal. At least nine of those issues were present in the trial that is the subject of

this appeal (Camarillorazo). These issues, many of which have now been raised in

multiple briefs, include the district court’s grant of summary judgment to the MDL

plaintiffs on the government-contractor defense as applied to both design-defect and

failure-to-warn claims; the holding that the Combat Arms earplugs are not subject to

the Noise Control Act’s combat-use exemption; the grant of summary judgment to

Camarillorazo on the sophisticated-intermediary defense; the denial of Appellants’

motion for judgment of a matter of law for lack of evidence of causation and, with

respect to the fraud claims, for lack of evidence of reliance; the decision to exclude

relevant testimony from individuals who tested the Combat Arms earplugs in an


                                           1
USCA11 Case: 23-10262        Document: 17      Date Filed: 03/17/2023   Page: 12 of 15



independent lab; and the decision to admit a host of irrelevant and prejudicial

evidence, much of which is hearsay.

      This Court has not yet resolved any of the prior bellwether appeals, but the

first four appeals—Estes, Hacker, and Keefer (which have been consolidated) and

Baker—are fully briefed and will be argued together on May 1, 2023. A decision in

those appeals will resolve many of the issues relevant to this appeal (Camarillorazo),

including the application of the government-contractor defense, the proper

interpretation of the Noise Control Act’s combat-use exemption, and four

independent evidentiary issues that have arisen in every bellwether trial.

      The “general principle” observed by the federal courts is “to avoid duplicative

litigation,” and courts “are afforded broad discretion in determining whether to stay

… litigation in order to avoid duplicating a proceeding.” Georgia ex rel. Olens v.

McCarthy, 833 F.3d 1317, 1321 (11th Cir. 2016). There is no reason for the parties

to this appeal to expend resources briefing arguments that have already been pending

in this Court for months in other appeals arising from the same multi-district

litigation, and that will be decided well before the Court reaches a decision in this

case. Because the Court’s resolution of the Estes, Hacker, Keefer, and Baker appeals

will either dictate the outcome of this appeal or very substantially narrow its scope,

the best course is to hold the appeal in abeyance and suspend the briefing schedule

until the Court has issued its decision in those cases.

                                           2
USCA11 Case: 23-10262       Document: 17     Date Filed: 03/17/2023    Page: 13 of 15



      Appellants have conferred with counsel for Camarillorazo, who has stated that

he opposes this motion.

      WHEREFORE, Appellants respectfully request that the Court hold this appeal

in abeyance and suspend the briefing schedule until the Court’s resolution of the

Estes, Hacker, Keefer, and Baker appeals currently scheduled for oral argument on

May 1, 2023. Because Appellants’ opening brief in this appeal is currently due on

April 7, 2023, Appellants respectfully request the Court’s prompt resolution of this

motion.



                                             Respectfully submitted,
                                             /s/Paul D. Clement
   GEORGE W. HICKS, JR.                      PAUL D. CLEMENT
   KASDIN M. MITCHELL                          Counsel of Record
   KIRKLAND & ELLIS LLP                      CLEMENT & MURPHY, PLLC
   1301 Pennsylvania Avenue, NW              706 Duke Street
   Washington, DC 20004                      Alexandria, VA 22314
   (202) 389-5000                            (202) 742-8900
                                             paul.clement@clementmurphy.com
    COLE CARTER
    KIRKLAND & ELLIS LLP
    300 North LaSalle
    Chicago, IL 60654
    (312) 862-2000
                      Counsel for Defendants-Appellants

March 17, 2023




                                         3
USCA11 Case: 23-10262          Document: 17   Date Filed: 03/17/2023   Page: 14 of 15



                      CERTIFICATE OF COMPLIANCE
                     WITH TYPE-VOLUME LIMITATION

      I hereby certify that:

      1. This motion complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because it contains 580 words, excluding the parts of the motion

exempted by Fed. R. App. P. 32(f).

      2. This motion complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the typestyle requirements of Fed. R. App. P. 32(a)(6) because it has

been prepared in a proportionally spaced typeface using Microsoft Word 2016 in 14-

point font.

March 17, 2023

                                                     s/Paul D. Clement
                                                     Paul D. Clement
USCA11 Case: 23-10262       Document: 17    Date Filed: 03/17/2023   Page: 15 of 15



                         CERTIFICATE OF SERVICE
      I hereby certify that on March 17, 2023, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Eleventh

Circuit by using the CM/ECF system. I certify that all participants in this case are

registered CM/ECF users and that service will be accomplished by the CM/ECF

system.

                                                   s/Paul D. Clement
                                                   Paul D. Clement
